                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


ESTATE OF TEION YASIN COOPER
BY SPECIAL ADMINISTRATOR JULIUS ANDRIUSIS,

BARBARA SHAREE THOMAS,

M. T. (a minor),

              Plaintiffs,

       v.                                         Case No.:      2:25-cv-530

THOMAS DURAND,

LEON MARTIN, and

MILWAUKEE COUNTY,

              Defendants.


                                           COMPLAINT


       NOW COMES the above-named plaintiffs Estate of Teion Yasin Cooper (hereinafter

“The Estate”), through its nominated Special Administrator, Julius Andriusis, Barbara Sharee

Thomas in her own right (“BARBARA”), and M. T., (“M. T.”), a minor child by her mother,

Barbara Sharee Thomas (her legal guardian), by their attorneys, Andriusis Law Firm, LLC, and

allege and show to the Court as follows:

                                       JURISDICTION

       1.     This Honorable Court has original federal jurisdiction based an important federal

question pursuant to 28 U.S.C. §1331 regarding The Estate’s §1983 claims.




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       2.      This Court has supplemental jurisdiction over the Wisconsin state law claims

pursuant to 28 U.S.C. §1367 because said claims arise out of the same controversy – the reckless

high speed vehicle pursuit that directly resulted in the death of Teion Yasin Cooper – as The

Estate’s §1983 claims, which are within this Court’s original jurisdiction under Article III of the

United States Constitution.

                                             VENUE

       3.      Venue is appropriate in this Court pursuant to 28 U.S.C. §1391(b) because all

incidents, events, occurrences and/or omissions giving rise to these claims occurred in the

Eastern District of Wisconsin. Moreover all parties are situated within the Eastern District of

Wisconsin.

       4.      Notice of the instant tort claim was provided to Milwaukee County hereinafter

“the County”) by service of a Notice of Claim and Injury on September 2, 2022, and thereafter a

more detailed Amended Notice of Injury served upon George L. Christenson, Milwaukee County

Clerk, on October 6, 2023. That more than 120 days have passed and The Estate has received

no notification of the denial or acceptance of responsibility for the claim from the County.

       5.      The Plaintiffs allege that the wrongful acts alleged herein were carried out

pursuant to one or more customs or policies of the County as more fully set forth below.

                                            PARTIES

       6.      That Julius Andriusis (hereinafter “Andriusis”) is the Special Administrator for

the Estate (See, Milwaukee County Case Number 2024PR000631 In the Estate of Teion Yasin

Cooper) and brings this action on behalf of the Estate. That Andriusis maintains a law practice

at 985 West Oklahoma Avenue, Milwaukee, WI 53215.




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       7.     That BARBARA is a plaintiff in her own right, having been herself injured in the

instant collision. That BARBARA is an adult who resides at 6658 North Bourbon Street #7,

Milwaukee, WI 53224.

       8.     That M. T. is the minor child of the decedent Teion Yasin Cooper and

BARBARA, who brings this action under their daughter’s name as the legal guardian of their

minor child M. T., who resides with BARBARA.

       9.     At all times relevant to this action, Thomas Durand (hereinafter “DURAND”)

was acting under the color of state law and within the scope of his employment with the County,

as a Deputy Sheriff employed by the County.

       10.    At all times relevant to this action, Leon Martin (hereinafter “MARTIN”) was

acting under the color of state law and within the scope of his employment with the County, as a

Deputy Sheriff employed by the County.

       11.    The County is a municipal corporation, duly incorporated under the laws of the

State of Wisconsin, and was at all relevant times, through the Milwaukee County Sheriff’s

Department, the employer and principal of DURAND and MARTIN.

       12.    That DURAND and MARTIN are, on information and belief, adult residents of

Milwaukee County, State of Wisconsin. That at all times relevant to this lawsuit, they were

employed as Deputy Sheriffs for the County, acting under color of state law within the meaning

of 42 U.S.C. §1983, and within the scope of their employment as that term is used in Wis. Stats.

§895.46.

       13.    That the County is a Wisconsin municipality with the capacity to sue and be sued

in this Court. That the County is liable for the unlawful acts of the individual Defendants not




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only because they were acting within the scope of their employment pursuant to Sec. 895.46,

Wis. Stats., but for the reasons more fully set forth below involving the wholesale failure of the

County to properly train and supervise its employees.

                                  FACTUAL BACKGROUND

       14.     On Tuesday evening, May 24, 2022, at 6:06 p.m. (or “18:06:00” as hereinafter

expressed in 24 hour ‘military’ times as shown on the dash cam video referenced below),

DURAND and MARTIN were on duty in the same squad car and DURAND – with the

observational assistance including navigation, lookout and encouragement of MARTIN – was

operating the sheriff’s deputy squad car on behalf of the County while acting in their capacities

as deputy sheriffs and were driving southbound on North Sherman Boulevard as they approached

West Hope Avenue in Milwaukee County.

       15.     Upon approaching the intersection, DURAND and MARTIN spotted a white

Infiniti they later determined was owned and operated by Javon L. Alexander

(“ALEXANDER”) heading northbound on North Sherman Boulevard towards the same

intersection. DURAND and MARTIN observed that ALEXANDER moved to the far right

“distress” lane as he approached the intersection and the light turned green.

       16.     Instead of turning right as one might reasonably expect, ALEXANDER

proceeded straight northbound through the intersection and effortlessly merged with traffic in the

northbound lanes of North Sherman Boulevard without endangering anyone’s safety. This is a

routine albeit inappropriate time saving procedure that takes place literally every day within

Milwaukee County on innumerable occasions and – as is evident from a review of the deputies’




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dash cam video – presented absolutely no danger to the public whatsoever and at worst,

warranted the issuance of a municipal citation for unsafe lane deviation or the like.

       17.     That in response thereto, in violation of his training and policies but in accord

with prior undisciplined behavior by fellow deputy sheriffs, DURAND mate the fateful decision

to institute a police stop by making a U-turn and proceeding northbound on Sherman Boulevard

with lights and sirens engaged.

       18.     That having noticed the Sheriff’s squad car with emergency lights pursuing him,

ALEXANDER (an African American man who is familiar with the sordid history of interactions

by and between African American men and local law enforcement in Milwaukee County)

accelerated his car northbound on North Sherman Boulevard in an attempt to flee the officers

pursuing him, ultimately reaching speeds approaching or exceeding 100 M.P.H. That despite

their training and policies, but in accord with prior undisciplined behavior by fellow deputy

sheriffs, DURAND and MARTIN engaged in a high speed pursuit of ALEXANDER.

       19.     At 18:07:12 on May 24, 2022, DURAND and MARTIN were traveling at 12

M.P.H. after completing their U-turn. At 18:07:20, just eight seconds later, their squad car was

now traveling 64 M.P.H. as it approached West Marion Street on North Sherman Boulevard. At

18:07:25, as it flew through the intersection of West Congress Street and North Sherman

Boulevard, the squad car was now traveling 68 M.P.H.         By 18:07:32, the squad car was now

approaching The Atonement Church at 4500 North Sherman Boulevard and is now traveling 86

M.P.H., prompting the fleeing ALEXANDER to travel even faster to continue to elude them.

       20.     In effect, this high speed pursuit of a municipal traffic violator in a densely

populated urban center during the evening rush hour on a (Tuesday) school night past churches




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and schools, in 30 M.P.H. zones reduced to 20 M.P.H. in school zones, was of such a reckless

nature that this high speed vehicle pursuit was the legal equivalent of DURAND and MARTIN

firing a loaded gun into a crowd with the inevitable consequence of harm coming to innocent

bystanders such as M. T., Barbara S. Thomas and Teion Yasin Cooper which inevitable and

foreseeable harm in fact occurred, forever destroying this family.

       21.     At 18:07:37, the squad continued its unwarranted and reckless high speed vehicle

pursuit and was approaching Glendale Avenue – now traveling at 90 M.P.H. As the two

vehicles approached West Hampton Avenue on North Sherman Boulevard, both vehicles flew

through the intersection in excess of 50 M.P.H., narrowly avoiding collisions with cross-traffic.

       22.     That at 18:08:01, the squad car approached 4942 North Sherman Boulevard and

encountered a sign clearly stating: “SCHOOL SPEED LIMIT 20 MPH” but within 2 seconds

at 18:08:03 DURAND and MARTIN had accelerated to a speed of 81 M.P.H. as they

approached West Fairmount Street. That such behavior rises to the level of criminally and

recklessly endangering the safety of others including these plaintiffs.

       23.     At 18:08:11, now traveling 93 M.P.H., DURAND and MARTIN sped past the

Barack Obama School of Career and Technical Education at 5075 North Sherman Boulevard on

a school night when school was in session.

       24.     ALEXANDER, aware that the squad car was still in pursuit, eventually turned

eastbound onto the Silver Spring Drive exit ramp (at 18:08:38), then turned southbound onto

North Hopkins Street, still under hot pursuit for an alleged municipal traffic violation and not

suspected of having committed any crime – misdemeanor or felony. The squad car operated by

DURAND and navigated by MARTIN then attempted to turn left onto West Sheridan Street




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from North Hopkins Street where at 4229 West Sheridan Avenue DURAND who in the ultimate

display of lack of concern for himself, his partner MARTIN and the public large, completely lost

control of the squad car crashing it into a parked vehicle, thereby terminating the pursuit

(18:09:00) 2 minutes and 23 seconds after the “chase” began.

       25.     The “bullet fired into the crowd” had by this point of course already been fired

and predictably within seconds of the squad car collision with a parked vehicle, hit its inevitable

victims, the Cooper/Thomas family. The automobile operated by a frightened ALEXANDER,

fleeing a needlessly reckless and dangerous high speed vehicle pursuit in violation of the

purported “training” received by DURAND and MARTIN, continued eastbound on West

Sheridan Avenue, blew through the stop sign at 37th Street, and crashed into the vehicle driven

by Teion Yasin Cooper, killing him and injuring his daughter M. T. and her mother,

BARBARA.1

       26.     ALEXANDER was prosecuted in Milwaukee County Circuit Court case

22CF003599, State of Wisconsin v. Javon L. Alexander. The complaint alleged Second Degree

Reckless Homicide, Hit and Run – Resulting in Death, Hit and Run – Great Bodily Harm, and

Hit and Run – Injury. ALEXANDER pled guilty to one count each of (a) Hit and Run-Involve

Death, a class D felony, Wisconsin Statutes 346.67(1); (b) Hit and Run-Involve Great Bodily

Harm, a class E felony, Wisconsin Statutes 346.67(1); and (c) Hit and Run-Involve Injury, an

unclassified felony, Wisconsin Statutes 346.67(1).




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     The entire dash cam video was posted online and is available at: https://x-default-
stgec.uplynk.com/ausw/slices/a55/44c3f81cadf84cf5a6f4e6d100388208/a5509f616655471a95a6
0a4cd18f7889/a5509f616655471a95a60a4cd18f7889_e.mp4 (last accessed April 15, 2025).


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       27.     On April 12, 2024, ALEXANDER was sentenced to 20 years with 0 days credit

concurrent to Counts 3 and 4 and Consecutive to any other sentence; the Initial Term of

Confinement in the Wisconsin State Prison System was 12 years; the maximum term of extended

supervision was 8 years. A Judgment of Conviction was entered on April 23, 2024.

       28.     That police officers including deputy sheriffs involved in a high speed pursuit like

the one the individual Defendants were conducting are aware that the high-speed pursuit of a

target vehicle which is consistently violating traffic signals and speed restrictions, through busy

city streets, poses a significant danger to innocent motorists and pedestrians along the route of

the pursuit, and the individual Defendants pursuing ALEXANDER were aware of this danger.

       29.     Police officers involved in a high speed chase like the one the individual

Defendants were conducting have various ways available to them to terminate the pursuit and the

ongoing danger to innocent motorists and pedestrians. One way police can terminate a high

speed pursuit is through the use of force. Almost any degree of force is lawful when police are

seeking to terminate a high-speed pursuit of a vehicle that is creating an ongoing danger to

innocent motorists and pedestrians. Scott v. Harris, 550 U.S. 372 (2007).

       30.     Another way police can terminate a high speed pursuit is through simply

discontinuing the pursuit and permitting the pursued vehicle to escape. There are good reasons

not to permit the escape of dangerous criminals, but it is often preferable to simply abstain from

prolonging the danger to innocent motorists and pedestrians that occurs if a pursuit is not

terminated in some fashion.

       31.     Of course, there is a third option for police involved in a high-speed pursuit, and

that is to simply continue following the pursued vehicle until it crashes, without either




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terminating the pursuit by discontinuing it or terminating the pursuit by applying physical force

to the pursued vehicle. This third option is the most dangerous to innocent motorists and

pedestrians as it can result in extended high-speed pursuits that expand the danger to innocent

motorists and pedestrians over significant expanses of time and space. This third option creates

so much danger to innocent motorists and pedestrians and achieves so little toward any

legitimate goal of law enforcement that choosing it reflects an intentional disregard for the safety

of innocent motorists and pedestrians on the part of the pursuing officers.

       32.     The County, on its part, purports to properly train deputy sheriffs and developed

written policies on high speed vehicle pursuits which it routinely publishes and uses as training

materials. However, upon information and belief, and the historical records relating to high

speed chases involving deputy sheriffs of the Milwaukee County Sheriff’s Department, there is

no emphasis on the rules to be followed, no discipline imposed for failure to follow the high

speed vehicle pursuit guidelines, and the County regularly turns a blind eye to even the most

flagrant of violations, as here, thereby implicitly encouraging and failing to discourage such

unlawful and inherently dangerous activities.

       33.     Throughout the pursuit, in an effort to elude the pursuing officers, ALEXANDER

proceeded recklessly, at illegal and unsafe speeds, ignoring stop signs and traffic lights, and

otherwise disregarding the rules of the road, facts all directly witnessed by DURAND and

MARTIN who ignored every aspect of their purported “training” and did not disengage the

pursuit, knowing full well that no discipline for such a flagrant disregard of Milwaukee County

policies would be forthcoming and emboldened by that fact to engage in reckless life-threatening

behaviors as happened here.




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       34.       The Milwaukee County Sheriff’s Office published an updated Policy Manual on

January 15, 2022, whose terms were in effect on the date of the instant incident. It states at

relevant part:

       Vehicle Pursuits

       307.1 PURPOSE AND SCOPE

       Vehicle pursuits expose innocent citizens, law enforcement officers and fleeing
       violators to the risk of serious injury or death. The primary purpose of this policy
       is to provide deputies with guidance in balancing the safety of the public and
       themselves against law enforcement's duty to apprehend violators of the law (Wis.
       Stat. § 346.03(6); Wis. Admin. Code § LES 3.07).

       Another purpose of this policy is to minimize the potential for pursuit-related
       crashes. Vehicle pursuits require deputies to exhibit a high degree of common
       sense and sound judgment. Deputies must not forget that the immediate
       apprehension of a suspect is generally not more important than the safety of
       the public and pursuing deputies.

       The following factors individually and collectively shall be considered in deciding
       whether to initiate or continue a pursuit (Wis. Stat. § 346.03(6)):

       (a) The seriousness of the known or reasonably suspected offense and its
       relationship to community safety. Absent reasonable suspicion to the contrary;
       fleeing offenders should be treated as a traffic violator only.

       (b) The importance of protecting the public and balancing the known or
       reasonably suspected offense and the apparent need for immediate capture against
       the risks to deputies, innocent motorists and others.

       (c) The apparent nature of the fleeing suspect (e.g., whether the suspect
       represents a serious threat to public safety).

       (d) The identity of the suspect has been verified and there is comparatively
       minimal risk in allowing the suspect to be apprehended at a later time.

       (e) The safety of the public in the area of the pursuit, including the type of
       area, time of day, the amount of vehicular and pedestrian traffic (e.g., school
       zones) and the speed of the pursuit relative to these factors.




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       (f) The pursuing deputy's familiarity with the area of the pursuit, the quality of
       communication between the pursuing units and the dispatcher/supervisor, and the
       driving capabilities of the pursuing deputies under the conditions of the
       pursuit.

       (g) The weather, traffic and road conditions that unreasonably increase the danger
       of the pursuit when weighed against the risks resulting from the suspect's escape.

       (h) The performance capabilities of the vehicles used in the pursuit in relation to
       the speed and other conditions of the pursuit.

       (i) Vehicle speeds.

       (j) Other persons in or on the pursued vehicle (e.g., passengers, co-offenders and
       hostages).

       (k) The availability of other resources.

       (l) The sheriff's unit is carrying passengers other than on-duty sheriff's deputies
       (emphases added throughout).

       35.     That as is plainly evident from even a cursory review of the dash cam video of the

incident, DURAND and MARTIN failed to follow the County’s policies in virtually every

aspect of their determination to commence and continue this high speed vehicle chase.

       36.     DURAND and MARTIN did not balance the safety of the public and

themselves against law enforcement's duty to apprehend violators of the law, given the high risks

to the public and fact that this party eluding the police was merely a minor traffic violator.

       37.     DURAND and MARTIN did not consider the obvious fact that the immediate

apprehension of a suspect – even a suspected misdemeanant or felon (which ALEXANDER was

not) – is generally not more important than the safety of the public and pursuing deputies.

       38.     DURAND and MARTIN did not consider the seriousness of the known or

reasonably suspected offense and its relationship to community safety.           Absent reasonable

suspicion to the contrary, fleeing offenders should be treated as a traffic violators only. Instead,



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DURAND and MARTIN treated ALEXANDER as if he had just committed a homicide in their

presence and that there was an immediate harm to the public necessitating the use of any means

necessary to take him into custody.

       39.     DURAND and MARTIN completely ignored the very obvious need for the

safety of the public in the area of the pursuit, including the type of area, time of day, the

amount of vehicular and pedestrian traffic (e.g., school zones) and the speed of the pursuit

relative to these factors. Literally, this was a divided highway, one of Milwaukee’s main

arterials, it was the evening of a school night, there was both vehicular and pedestrian traffic

everywhere, they sped at excessive speeds past churches and through 20 M.P.H. school zones,

and the speeds reached more than 90 miles per hour. It is very nearly impossible to have

violated more of the high speed vehicle pursuit policies than DURAND and MARTIN did in

this less-than-three-minute fatal high speed pursuit.

       40.     It is self-evident that DURAND has a limited ability to maintain control of his

squad car as he failed to negotiate a simple left hand turn at 31 miles per hour resulting in a crash

of his service vehicle into a legally parked car. The driving capabilities of the pursuing

deputies under the conditions of the pursuit suggest that this pursuit never ought to have been

started in the first place, and certainly should have been discontinued when ALEXANDER sped

off through a residential school zone and past an open high school on a Tuesday night when

school was in session. MARTIN’s abject failure to even attempt to dissuade his partner from

starting – and worse, continuing – the pursuit makes him entirely complicit and culpable in the

inevitable outcome that occurred.




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       41.     That there is no evidence whatsoever that Teion Yasin Cooper was in any was

contributorily negligent in causing the collision that resulted in his own death, the responsibility

therefore resting solely with the officers who foolishly decided to “fire the bullet” by conducting

a high speed vehicle pursuit involving a traffic infraction in a densely populated residential area

that included churches and schools on its route, and the “bullet” himself, ALEXANDER.

       42.     That the “bullet fired into the crowd” by DURAND and MARTIN inevitably

found its mark and took the life of Teion Yasin Cooper. That the actions of DURAND and

MARTIN proximately caused the injuries and death of Teion Yasin Cooper and injuries to his

daughter M. T. and M. T.’s mother BARBARA. That the hereinabove described actions of

DURAND and MARTIN shock the conscience in that they acted with deliberate indifference

and/or reckless disregard of the rights of Teion Yasin Cooper, his daughter, and her mother.

That while plaintiffs believe that while ALEXANDER received an appropriate sentence for his

criminal conduct, plaintiffs assert that while he was the metaphorical “bullet” that slammed into

Teion Yasin Cooper, his daughter, and her mother, the ones who fired the metaphorical “gun”

were DURAND and MARTIN, empowered and inspired by the lack of active proper training

and enforcement by the County of its own published rules; that the firing of the “gun”

proximately caused ended Teion’s life and injured his daughter and her mother.

                BASES OF LIABILITY: SUBSTANTIVE DUE PROCESS,
                       NEGLIGENCE, WIS. STATS. §895.46,
                MUNICIPAL LIABILITY FOR “CUSTOM” OR “POLICY”

       43.     That DURAND and MARTIN conducted themselves “so recklessly that a trier of

fact would be entitled to find subjective knowledge of an unjustifiable risk to human life and

conscious disregard of that risk.” Flores v. City of S. Bend, 997 F.3d 725, 729-730 (7th Cir.




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2021). In so doing they violated rights secured to Teion Yasin Cooper and his family by the Due

Process Clause of the Fourteenth Amendment to the United States Constitution.

       44.     Further, that DURAND and MARTIN acted with “criminal recklessness—which

is the same as deliberate indifference.” Hill v. Shobe, 93 F.3d 418, 421 (7th Cir. 1996) (quoting

Archie v. City of Racine, 847 F.2d 1211, 1222 (7th Cir. 1988)); see also County of Sacramento v.

Lewis, 523 U.S. 833, 839 (1998) (“deliberate indifference” or “reckless disregard”). Criminal

recklessness in this context has long served as an effective proxy for intent, Hill, 93 F.3d at 421

(citing Wilson v. Williams, 83 F.3d 870, 875 (7th Cir. 1996)). That DURAND and MARTIN

had actual knowledge of impending harm which they consciously refused to prevent.” See, Hill,

93 F.3d at 421.

       45.     That DURAND and MARTIN committed the common-law tort of negligent

injury when they drove in such a way that they had zero probability of ending their high-speed

pursuit of ALEXANDER in any way other than causing a vehicular crash. Legue v. City of

Racine, 2014 WI 92, ¶ 143, 357 Wis. 2d 250, 301, 849 N.W.2d 837, 861–62.

       46.     That Wis. Stats. §895.46 (1)(a) states that: “If the defendant in any action or

special proceeding is a public officer or employee and is proceeded against in an official capacity

or is proceeded against as an individual because of acts committed while carrying out duties as

an officer or employee and the jury or the court finds that the defendant was acting within the

scope of employment, the judgment as to damages and costs entered against the officer or

employee … shall be paid by the state or political subdivision of which the defendant is an

officer or employee.” That DURAND and MARTIN are employees and public officers who




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acted in their official capacities and within the scope of their employment with the County while

carrying out their duties as officers.

        47.      That officers such as DURAND and MARTIN – who were not responding to an

emergency – acted so recklessly that they had subjective knowledge of an unjustifiable risk to

human life and consciously disregarded that risk, proximately causing the death of Teion Yasin

Cooper and injuries to BARBARA and M. T..

        48.      Defendants DURAND and MARTIN thus violated the substantive due process

rights of Teion Yasin Cooper to be free from state actions that deprive him of life, in such a

manner as to shock the conscience.

        49.      The actions of DURAND and MARTIN and the County proximately caused

Teion Yasin Cooper’s death and injuries to BARBARA and M. T., and caused each of them to

suffer physically and emotionally for which his estate and BARBARA and M. T. seek an award

of compensatory damages in an amount deemed just by the Court.

        50.      That in particular the failure of the County to properly train, discipline and

supervise their deputy sheriffs regarding high speed residential area vehicle pursuits was a

proximate cause of the acts that resulted in the injuries sustained by the plaintiffs, including

Teion’s death.

        51.      The actions of DURAND and MARTIN and the County caused the Estate and

BARBARA to incur funeral expenses and other expenses for which they seek awards of

compensatory damages in amounts deemed just by the Court.

        52.      As a further direct and proximate result of the acts, errors and omissions of

DURAND and MARTIN and the County, Plaintiffs have suffered damages as a result of the




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violation of state and federal constitutional rights and incurred and will continue to incur

attorneys’ fees for which they seek compensation.

       53.     Because the unlawful acts of DURAND and MARTIN and the County herein

alleged were carried out with reckless disregard for Teion Yasin Cooper’s and Barbara and M.

T.’s fundamental rights, the Plaintiffs seek awards of punitive damages against the individual

Defendants to deter them and others similarly situated from similar wrongful acts in the future.

       54.     All conditions precedent to this action within the meaning of Rule 9(c), Fed. R.

Civ. Pro., have been performed or have otherwise occurred.

       WHEREFORE, the plaintiffs demand judgment against THOMAS DURAND, LEON

MARTIN, and MILWAUKEE COUNTY as follows:

       a.      Plaintiffs demand judgment against THOMAS DURAND, LEON MARTIN,

and MILWAUKEE COUNTY for a fair and reasonable amount of compensatory damages

found to be appropriate;

       c.      Plaintiffs demand judgment against THOMAS DURAND, LEON MARTIN,

and MILWAUKEE COUNTY based upon their liability for related debts occasioned by the

injuries sustained by and death of Teion;

       d.      Plaintiffs demand judgment against THOMAS DURAND, LEON MARTIN,

and MILWAUKEE COUNTY for punitive damages as same may be available under Wisconsin

law; and

       e.      The Plaintiffs further demand judgment against THOMAS DURAND, LEON

MARTIN, and MILWAUKEE COUNTY for the costs, disbursements and prejudgment

interest in this action and for such other relief as the Court deems appropriate.




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       f.      Plaintiffs further demand, in the event of settlement or verdict in favor of the

plaintiffs, the Court to grant an order declaring Plaintiffs’ rights to such settlement or verdict

proceeds to be paramount to that of any subrogated party.

       g.      Finally, in the event of any subrogated party’s failure to respond to this Complaint

in a timely manner, Plaintiffs request this court to grant an order dismissing the subrogated party

from this action and barring any claim for subrogation and/or reimbursement and barring the

subrogated party from participating in any judgment or settlement in this action.

            PLEASE TAKE NOTICE THAT THE PLAINTIFFS DEMAND THAT
        THE ABOVE-ENTITLED ACTION BE TRIED BY A TWELVE-PERSON JURY.

       Dated at Milwaukee, Wisconsin this 11th day of April, 2025.

                                             Electronically signed by
                                             /s/Julius Andriusis
                                             Wisconsin State Bar #1053784

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